

People v Garcia-Ponce (2023 NY Slip Op 00278)





People v Garcia-Ponce


2023 NY Slip Op 00278


Decided on January 24, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 24, 2023

Before: Kapnick, J.P., González, Mendez, Shulman, Higgitt, JJ. 


Ind. No. 4933/07 Appeal No. 17166 Case No. 2018-1781 

[*1]The People of the State of New York, Respondent,
vLuis Garcia-Ponce, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Svetlana M. Kornfeind of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Conor Byrnes of counsel), for respondent.



Order, Supreme Court, New York County (Daniel Conviser, J.), entered on or about December 19, 2017, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court's assessment of 15 points under the risk factor for causing physical injury was supported by clear and convincing evidence. As to either or both of two sex abuse victims, their grand jury testimony describing defendant's violent attacks, in which he inflicted bruises, scratches, scrapes, lacerations, bleeding, and resulting pain, supports an inference of the requisite substantial pain (see People v Chiddick, 8 NY3d
445, 447-448 [2007]; People v Guidice, 83 NY2d 630, 636 [1994]; People v Sierra, 132 AD3d 460, 460 [1st Dept 2015], lv denied 26 NY3d 916 [2016]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 24, 2023








